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EXhibit H

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To ()ur C|ients and Other Frlends

In January 2003, the FASB issued FASB lnterpretation No. 46, Consolidation of Variable Interest Entities,
an Interpretation of Accounting Research Bulletz'n (ARB) No. 51, (the lnterpretation). The lnterpretation
has proven to be one of the most complex standards issued to date by the FASB. The lnterpretation
provides guidance on how to apply the controlling financial interest criteria in ARB 51 to variable interest
entities. Given the Interpretation’s complexity, numerous implementation issues emerged after its issuance,
particularly with respect to the Interpretation’s scope and how the Interpretation’s consolidation model
should be applied In response, the FASB staff issued several FASB Staff Positions (FSPS) throughout
2003 to clarify the Board’s intent on certain of the Interpretation’s provisions, and in December 2003, the
Board revised the Interpretation to address certain technical corrections and to clarify many of the
implementation issues that had arisen.

Variable interest entities (VlEs) include many entities that have previously been referred to as special-
purpose entities (SPEs), but also may include many other entities not previously thought of as SPEs.
The lnterpretation’s scope is so broad that virtually every entity may be affected by its provisions The
Interpretation introduces a new consolidation model_the variable interests model_which determines
control (and consolidation) of a variable interest entity based on the potential variability in its variable
interest holders’ gains and losses.

In general, a variable interest entity is subject to consolidation pursuant the Interpretation’s provisions if it
has (l) an insufficient amount of equity for the entity to carry on its principal operations without additional
subordinated financial support provided by any parties, (2) a group of equity owners that are unable to
make decisions about the entity’s activities, or (3) equity that does not absorb the entity’s losses or receive
the entity’s benefits VlEs are to be evaluated for consolidation based on all contractual, ownership, or
other interests that expose their holders to the risks and rewards of the entity. These interests are termed
variable interests and include equity investments, loans, leases, derivatives, guarantees, Service and
management contracts, and other instruments whose values change with changes in the VIE’s net assets
(excluding variable interests). Any of these instruments may require its holder to consolidate the VIE. The
holder of a variable interest that receives the majority of the potential variability in gains or losses of the
VIE (with the primary focus on losses) is the VIE’s primary beneficiary, and is required to consolidate the
VIE. Despite the complexity of the Interpretation, for public companies its provisions became effective
immediately for entities created after January 31, 2003.

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To OuR CLIENTS AND OTHER FRIENDS

While the FASB has clarified some of the lnterpretation’s provisions, implementation issues continue to
arise. This publication is designed to assist professionals in understanding the accounting required pursuant
to the Interpretation’s complex provisions This publication reflects our current understanding of the
lnterpretation’s provisions (as revised by the FASB in December 2003) based on our experience with
financial statement preparers and related discussions with the FASB and SEC staffs. Practice is still
forming and additional authoritative guidance interpreting the provisions of the Interpretation could be
issued subsequent to the release of this publication While we will update our understanding and this
publication as additional authoritative guidance is issued, preparers of financial statements should closely
monitor developments in this area.

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February 2004

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